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6
                           IN THE UNITED STATES DISTRICT COURT
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                         IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,           )             No. CR05-0395CRB
                                         )
10               Plaintiff,              )             (PROPOSED) ORDER
                                         )             CONTINUING STATUS CONFERENCE
11               vs.                     )             TO JUNE 7, 2006
                                         )
12   HAN LEE                             )
                                         )
13                                       )
                 Defendant.              )
14   ____________________________________)
15
            WHEREFORE GOOD CAUSE APPEARING, AND UPON THE STIPULATION OF THE
16
     PARTIES, IT IS HEREBY ORDERED THAT the Status Conference presently scheduled for April 5,
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     2006 is continued to June 7, 2006 at 2:15 p.m..
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     SO ORDERED.
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25   DATED: April 5, 2006                              Hon. CHARLES R. BRYER
                                                                                    ED
                                                                              ORDER
                                                          UNIT




                                                       United States District
                                                                           OJudge
26                                                                 IT IS S
                                                                                                     R NIA




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                                                                                 arles R. Breyer
                                                           NO




                                                                        Judge Ch
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     STIPULATION & (PROPOSED) ORDER
                                                            RT




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     CR05-0395CRB
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